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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                      *
vs.                                                *    Case No.: 22-15-APM
THOMAS E. CALDWELL                                 *
         *       *      *        *     *       *        *       *       *       *     *
                     MOTION TO MODIFY CONDITIONS OF RELEASE

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court modify the conditions of release in this

matter, and states as follows:

      1. The Government does not object to the instant request.

      2. The Defendant requests that his current curfew be relaxed from its current time-

         allowance, 7 a.m. to 9 p.m., to 7 a.m. to 11:30 p.m.

      3. The Defendant has performed perfectly for nearly 42 months on pretrial release. While

         he rarely stays out after 9 p.m., the Defendant is often involved in church and

         community-related activities that extend late into the evening and desires an extended

         curfew for those occasions where extra time is needed for travel.

      WHEREFORE, the Defendant requests that his curfew be changed to the hours of 7 a.m. to

11:30 p.m.

                                                        Respectfully submitted,

                                                                 /s/
                                                        David W. Fischer, Esq.
                                                        Federal Bar No. 023787
                                                        Empire Towers, Suite 1007
                                                        7310 Ritchie Highway
                                                        Glen Burnie, MD 21061
                                                        (410) 787-0826
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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 10th day of September, 2024, a copy of the foregoing
Motion to Modify Conditions of Release was electronically filed with the Clerk of the United
States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                Kathryn Rakoczy, AUSA
                                           Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                           /s/
                                                   David W. Fischer, Esq.




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